 Case 23-00057-amc           Doc 138-1 Filed 05/17/24 Entered 05/17/24 11:02:54            Desc
                                  Proposed Order Page 1 of 2



                             UNITED STATES BANKRUPTCY COURT
                             EASTERN DISTRICT OF PENNSYLVANIA

                                                 :
  In re:                                         :
                                                 :     Chapter 11
  Stream TV Networks, Inc.,                      :
                                                 :     Case No. 23-10763-AMC
                          Debtor.                :
                                                 :
                                                 :
                                                 :
  In re:                                         :
                                                 :     Chapter 11
  Technovative Media, Inc.,                      :
                                                 :     Case No. 23-10764-AMC
                          Debtor.                :
                                                 :    (Jointly Administered)

  Stream TV Networks, Inc. and                   :
  Technovative Media, Inc.                       :
                            Plaintiffs,          :
                                                 :
                        v.                       :
                                                 :
  Shadron L. Stastney, SLS Holdings VI,          :
  LLC, Hawk Investment Holdings                  :
  Limited, Artur Leonard Robert “Bob”            :
  Morton,    SeeCubic,     Inc.,    Alastair     :
  Crawford, Krzysztof Kabacinski, Kevin          :      Adv. Case No. 23-00057 (MDC)
  Gollop, Asaf Gola, John Doe(s), Jane           :
  Doe(s), Delaware and Other Law Firms           :
  representing and acting in concert with        :
  John Doe(s) and/or Jane Doe(s),                :
  Investment Banks employed by John              :
  Doe(s) and/or Jane Doe(s), Patric Theune,      :
  and SeeCubic B.V.,                             :
                              Defendants.        :

                                              ORDER

           Upon the Motion of Visual Semiconductor, Inc. Requesting a Status Conference to Discuss

               the Rescheduling of Certain Hearings ("Motion") and Request for Expedited

Consideration Thereof
Case 23-00057-amc         Doc 138-1 Filed 05/17/24 Entered 05/17/24 11:02:54                  Desc
                               Proposed Order Page 2 of 2



(“Emergency Request”) and after the required notice by Visual Semiconductor, Inc. to counsel to

creditors and parties in interest of the request, it is hereby ORDERED that:

   1. The Emergency Request is GRANTED;

   2. A hearing on the Motion will be scheduled for June 5, 2024 at 11 a.m. ("Hearing") in

       Courtroom #4, 900 Market Street Philadelphia, PA 19107.

       Any objections to the Motion shall be filed on or before May 29, 2024. At the Hearing,

       the Court will initially consider whether any of the relief requested in the Motion should

       be granted and will then determine, if appropriate, the other motions filed in this case at

       that time.

   3. This Order and underlying Motion shall be served via email to the interested parties and

       via the Court’s electronic filing system.




                                            Ashely M. Chan
                                            U.S. Bankruptcy Judge
